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                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF PENNSYLVANIA


DAVID LAWRENCE, Individually And On                                                     2758
Behalf Of All Others Similarly Situated,               Case No. _ _ _ _ __

                       Plaintiff,                      Judge

               v.
                                                       CLASS ACTION

VWR CORPORATION, MANUEL A.H.                           CLASS ACTION COMPLAINT FOR
BROCKE-BENZ, HARRY M. JANSEN                           VIOLATIONS OF SECTIONS 14(a)
KRAEMER, JR., NICHOLAS W. ALEXOS,                      AND 20(a) OF THE SECURITIES
ROBERT L. BARCH!, EDWARD A.                            EXCHANGE ACT OF 1934, AND
BLECHSCHMIDT, ROBERT P. DECRESCE,                      RULE 14A-9
PAMELA FORBES LIEBERMAN, TIMOTHY
P. SULLIVAN, and ROBERT J. ZOLLARS,                    JURY DEMAND

                        Defendants.



       Plaintiff David Lawrence ("Plaintiff'), by his undersigned attorneys, alleges upon personal

knowledge with respect to himself, and upon information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                                    NATURE OF THE ACTION

        1.     This action is brought as a class action by Plaintiff on behalf of himself and all other

similarly situated public shareholders of VWR Corporation ("VWR" or the "Company") against

VWR and the members of the Company's board of directors (collectively, the "Board" or the

"Individual Defendants"), for violations of Sections 14(a) and 20(a) of the Securities Exchange

Act of 1934 ("Exchange Act"), 15 U.S.C. §§ 78n(a) and 78t(a) respectively, and Securities and

Exchange Commission ("SEC") Rule 14a-9, 17 C.F.R. § 240.14a-9, and Regulation G, 17 C.F.R.

§ 244.100, in connection with the proposed merger (the "Proposed Merger") between VWR, and
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A vantor, Inc. ("A vantor"), a global supplier of ultra-high-purity materials for the life sciences and

advanced technology markets. The Proposed Merger will be accomplished through acquisition

entities, Vail Acquisition Corp, a Delaware corporation and a wholly-owned subsidiary of Avantor

("Merger Sub"), and New Mountain Capital L.L.C. (''New Mountain"), a private equity investment

firm.

        2.     On May 5, 2017, VWR and Avantor jointly announced that they had reached a

definitive Agreement ("Merger Agreement") under which Avantor will acquire VWR for $33.25

in cash per share of VWR common stock ("Merger Consideration"), reflecting an enterprise value

of $6.4 billion (the "Proposed Merger").

        3.     Defendants have violated the above-referenced Sections of the Exchange Act by

filing a materially incomplete and misleading Schedule 14A Preliminary Proxy Statement (the

"Proxy") with the SEC on June 1, 2017. The Board recommends that VWR' s shareholders vote

in favor of the Proposed Merger at a forthcoming shareholder special meeting, and agree to

exchange their shares pursuant to the terms of the Merger Agreement based on, among other

things, the factors examined by the Board to make its recommendation and the opinion rendered

by the Company's financial advisor, Merrill Lynch, Pierce, Fenner & Smith Incorporated ("BofA

Merrill Lynch").

        4.    While Defendants are touting the fairness of the Merger Consideration to the

Company's shareholders in the Proxy, they have failed to disclose certain material information

that is necessary for shareholders to properly assess the fairness of the Proposed Merger, thereby

rendering certain statements in the Proxy incomplete and misleading.




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        5.     In particular, the Proxy contains materially incomplete and misleading information

concerning: (i) the Company's financial projections; and (ii) the valuation analyses performed by

BofA Merrill Lynch.

       6.      For these reasons and as set forth in detail herein, Plaintiff asserts claims against

Defendants for violations of Sections 14(a) and 20(a) of the Exchange Act, and Rule 14a-9 and

Regulation G, 17 C.F.R. § 244.100. Plaintiff seeks to enjoin Defendants from proceeding with the

shareholder vote on the Proposed Merger unless or until the Proxy is corrected to address the

materially misleading information alleged herein, or, in the event the Proposed Merger is

consummated, to recover damages resulting from the Defendants' violations of the Exchange Act.

       7.      Thus, it is imperative that the relief requested herein be granted prior to the special

meeting to ensure that VWR's shareholders can make an informed decision on how to vote their

stock regarding the Proposed Merger.

                                             PARTIES

       8.      Plaintiff is, and has been at all relevant times, a shareholder of VWR common stock.

       9.     Defendant VWR is a Delaware corporation, with its principal executive offices

located at 100 Matsonford Road, Radnor, Pennsylvania 19087. VWR provides product and service

solutions to laboratory and production customers, and offers a portfolio of branded and private

label laboratory products, services and solutions to the life science, general research and applied

markets, including the biopharma, agricultural, chemical, environmental, food and beverage,

healthcare, microelectronic and petrochemical industries, as well as governmental agencies,

universities, primary education and research institutes and environmental organizations. VWR is

listed on the NASDAQ under the symbol "VWR."




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        10.    Individual Defendant Manuel A.H. Brocke-Benz has served as President and Chief

Executive Officer ("CEO") of VWR since January 2013 and has served as a director of the

Company since 2012.

        11.    Individual Defendant Harry M. Jansen Kraemer, Jr. is Chairman of the Board and

has served as a director of the Company since 2007.

        12.    Individual Defendant Nicholas W. Alexos has served as a director of the Company

since 2007.

       13.     Individual Defendant Robert L. Barchi has served as a director of the Company

since 2006.

       14.     Individual Defendant Edward A. Blechschmidt has served as a director of the

Company since 2007.

       15.    Individual Defendant Robert P. DeCresce has served as a director of the Company

since 2007.

       16.    Individual Defendant Pamela Forbes Lieberman has served as a director of the

Company since 2009.

       17.    Individual Defendant Timothy P. Sullivan has served as a director of the Company

since 2007.

       18.    Individual Defendant Robert J. Zollars has served as a director of the Company

since 2006.

       19.    The Individual Defendants and VWR may collectively be referred to as

"Defendants." Each of the Individual Defendants herein is sued individually, and as an aider and

abettor, as well as in his or her capacity ·as an officer and/or director of the Company, and the




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liability of each arises from the fact that he or she has engaged in all or part of the unlawful acts,

plans, schemes, or transactions complained of herein.

                                  JURISDICTION AND VENUE

        20.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act.

        21.     Personal jurisdiction exists over each Defendant either because the Defendant is an

individual who is either present in this District for jurisdictional purposes or has sufficient

minimum contacts with this District as to render the exercise ofjurisdiction over Defendant by this
        -
Court permissible under traditional notions of fair play and substantial justice.

        22.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because: (i) the conduct at issue had an effect in this

District; and (ii) VWR maintains its principal executive offices in this District.

                               CLASS ACTION ALLEGATIONS

       23.      Plaintiff brings this Action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of himself and the other public stockholders of VWR (the "Class"). Excluded from the Class are

Defendants and any person, firm, trust, corporation, or other entity related to or affiliated with any

defendant.

       24.      This Action is properly maintainable as a class action.

       25.      The Class is so numerous thatjoinder of all members is impracticable. As of May

24, 2017, there were approximately 131,798,400 issued and outstanding shares of VWR common

stock. Proxy, Preface, p. 81. All members of the Class may be identified from records maintained




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by VWR or its transfer agent and may be notified of the pendency of this action by mail, using

forms of notice similar to that customarily used in securities class actions.

        26.     Questions of law and fact are common to the Class, including, among others: (i)

whether Defendants have misrepresented or omitted material information concerning the Proposed

Merger, including the Board's bases for recommending stockholders vote in favor of the Proposed

Merger in the Proxy in violation of Section 14(a) of the Exchange Act and SEC Rules and

Regulations including Rule 14a-9; (ii) whether the Individual Defendants have violated Section

20(a) of the Exchange Act; and (iii) whether Plaintiff and other members of the Class will suffer

irreparable harm if compelled to vote their units regarding the Proposed Transaction based on the

false and/or misleading Proxy.

        27.    Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff's claims are typical of the claims of the other

members of the Class, Plaintiff have the same interests as the other members of the Class, and

Plaintiff do not have any interests that are adverse to the Class. Accordingly, Plaintiff is adequate

representatives of the Class and will fairly and adequately protect the interests of the Class.

        28.    The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for Defendants, or adjudications that would, as a practical matter, be dispositive of the

interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members' ability to protect their interests.

       29.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, injunctive relief on behalf

of the Class is appropriate.




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                                SUBSTANTIVE ALLEGATIONS

I.      Background of the Proposed Merger

        30.    VWR touts itself as a provider of product and service solutions to laboratory and

production customers. The Company offers a portfolio of branded and private label laboratory

products, services and solutions to the life science, general research and applied markets, including

the biopharma, agricultural, chemical, environmental, food and beverage, healthcare,

microelectronic and petrochemical industries, as well as governmental agencies, universities,

primary education and research institutes and environmental organizations.           The Company

operates in two segments: Americas and EMEA-APAC. The Americas segment consists of

operations located principally in the United States and Canada, as well as in Puerto Rico, Mexico

and select countries in Central and South America, including Costa Rica, Brazil, Argentina and

Chile. As of December 31, 2016, the Americas segment included 67 facilities located in eight

countries. As of December 31, 2016, the EMEA-APAC segment consisted of its operations

located principally in Europe, as well as in certain Asia-Pacific countries, and included 110

facilities located in 26 countries.    www.reuters.com/finance/stocks/companyProfile?symbol=

VWR.O.

      · 31.    The Company's portfolio includes chemicals, reagents, consumables, durable

products and scientific equipment and instruments. Consumable products include chemicals,

laboratory and production supplies and science education products. The Company's branded and

private label product portfolio includes service offerings marketed under the VWRCATALYST

brand, including sourcing and procurement, logistics, chemical and equipment tracking and sample

management.     In addition to procurement, logistics, chemical and equipment tracking and

glassware autoclaving, it offers scientific research support services, such as deoxyribonucleic acid




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(DNA) extraction, bioreactor servicing, compound management and customized kit assembly. In

addition, it offers custom manufacturing solutions, including buffers, reagents, active

pharmaceutical ingredients, high purity ingredients, ultra-pure acids and other chemicals used in

biopharmaceutical      and      industrial     applications     and     production      processes.

www.reuters.com/finance/stocks/companyProfile?symbol=VWR.O.

        32.    As described in the Proxy, on March 30, 2017, the Company received an indication

of interest letter from Avantor and New Mountain at a potential acquisition price of$30 per share.

Based on the Board's prior discussions regarding the Board's review of a potential purchaser

referred to as "Party A" in the Proxy, Defendant Kraemer informed Avantor and New Mountain

that the price per share offered to VWR was not a basis for further discussion.

        3 3.   Subsequently, on March 31, 2017, VWR received a revised indication of intertest

letter from Avantor and New Mountain at a potential acquisition price of $30 to $32 per share.

That same day, after discussion of the latest proposal from Avantor and New Mountain, the Board

authorized management to enter into a nondisclosure and standstill agreement with A vantor and

New Mountain.

       34.     On April 2, 2017, VWR entered into a nondisclosure agreement with Avantor and

New Mountain. After subsequent negotiation, on April 13, 2017, VWR received an updated

indication of interest from Avantor and New Mountain reflecting an increased offer price of $33.25

per share.

       3 5.    On May 3, 2017, the trading price of VWR common stock rose above the negotiated

merger price following the publication of market speculation of a sale of VWR to New Mountain.

Representatives of BofA Merrill Lynch contacted A vantor and New Mountain to press for a further




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price increase to $33.75 per share but were told that $33.25 per share was the best and final price

that Avantor and New Mountain would offer.

       36.    Ultimately, on May 4, 2017, the Board unanimously resolved, among other things

to approve the Proposed Merger. On May 5, 2017, VWR and Avantor issued a joint press release

announcing the Proposed Merger which stated the following, in relevant part:

       Center Valley, PA and Radnor, PA, May 5, 2017 -Avantor, a global supplier of
       ultra-high-purity materials for the life sciences and advanced technology industries,
       and VWR (NASDAQ: VWR), the major global independent provider of product,
       supply chain, and service solutions to laboratory and production customers, today
       announced that they have entered into a definitive agreement under which Avantor
       will acquire VWR for $33.25 in cash per share of VWR common stock, reflecting
       an enterprise value of approximately $6.4 billion. The purchase price represents an
       approximate 17% premium to the unaffected closing stock price on May 2, 201 7,
       the day prior to the start of market speculation regarding a potential sale of VWR.
       The purchase price also represents an approximate 20% premium to the 30 trading
       day volume weighted average price (VWAP), and an approximate 24% premium
       to the 90 trading day VWAP of VWR common stock as of May 2, 2017.

       Combined Company Uniquely Positioned to Serve Customers Globally
       Avantor's acquisition of VWR will create a major consumables-focused solutions
       and services provider to the high-growth life sciences and advanced technologies
       industries, as well as education, government, and research institutions across the
       globe. The acquisition will build on each company's strengths, including Avantor's
       cGMP manufacturing processes, significant exposure to emerging markets and
       VWR's significant position across the Americas and Europe. The combined
       company will be a vertically integrated organization, serving a global customer
       base in all areas of their activities, from research through production - a unique
       advantage in a fast growing marketplace.

      Michael Stubblefield, Chief Executive Officer of Avantor, said, "Avantor's
      acquisition of VWR is both highly compelling and complementary. We will bring
      together our well-known expertise in ultra-high-purity materials and customized
      solutions with VWR's global scale, unparalleled channel access, and deep customer
      relationships. Collectively, this will create a larger, stronger and more diversified
      company with significantly enhanced scale and product breadth. The global
      customers that we plan to serve in a more high-touch manner will immediately
      benefit from the combination, as we will provide end-to-end solutions that offer
      increased quality, effectiveness, and productivity."




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Mr. Stubblefield continued, "Avantor and VWR share a dedication to enabling the
advancement of science worldwide and a commitment to quality, safety, innovation
and customer service.

Both of our companies have highly qualified employees who are dedicated to
helping our customers succeed. We look forward to welcoming VWR's more than
10,000 employees to Avantor and to our continued success as one team upon the
successful completion of the transaction. We expect that this acquisition will
expand opportunities for our employees, as part of a larger, high-growth
enterprise."

Agreement Reflects VWR 's Strong Performance
Manuel Brocke-Benz, President and Chief Executive Officer of VWR, commented,
"Since our IPO, VWR has made significant progress executing on our strategy to
drive organic growth, and the first quarter 2017 results that we will announce today
clearly show that VWR's growth story remains on track. Given the changing
dynamics in the highly fragmented and diverse life sciences sector, we believe that
combining Avantor's advanced materials and solutions with VWR's unparalleled
distribution capabilities and breadth of offerings represents a compelling value
proposition. I am confident that this acquisition will create a highly differentiated
organization, one that is uniquely positioned to serve the growing needs of
laboratory and production customers around the world."

New Mountain Capital to Continue as Lead Shareholder ofthe Combined
Company
Matt Holt, Managing Director at New Mountain Capital, said, "We believe this
combination creates significant value for all stakeholders including customers,
partners and the employees. The combined company will have a strong position as
a vertically integrated, global player in manufacturing and supply chain solutions
for the life sciences, advanced technologies, and research industries."

The agreement followed the unanimous approval by the Board of Directors of both
VWR and Avantor. Completion of the transaction is subject to the expiration of a
"go-shop" period, the expiration or termination of the applicable waiting period
under Hart-Scott-Rodino Antitrust Improvements Act and European Commission
approval, obtaining any required clearance, consent or approval under applicable
foreign antitrust laws, VWR shareholder approval, and other customary closing
conditions. Varietal Distribution Holdings, LLC, the largest shareholder of VWR
comprised of, among other parties, Madison Dearborn Partners (MDP), which has
been a significant shareholder of VWR since 2007, and certain officers and
directors of VWR, has signed a voting and support agreement committing it to vote
in favor of the transaction, representing approximately 34.8% of the total issued
and outstanding shares of common stock of VWR.




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       Following the closing of the acquisition, which is expected in the third quarter of
       2017, New Mountain Capital will be the lead shareholder of the combined
       company, and MDP will not own any shares of common stock of the combined
       company. The combined company will be led by Mr. Stubblefield upon closing.

II.    The Merger Consideration Appears Inadequate in Light ofVWR's Recent Financial
       Performance and Growth Prospects

       37.     The Merger Consideration appears inadequate in light of the Company's recent

financial performance and prospects for future growth. Indeed, VWR reported strong financial

results for the first quarter of fiscal year 2017. Specifically, in a press release issued on May 5,

2017, the Company reported, among other things: (i) first quarter record quarterly net sales of

$1.14 billion, a 3. 7% increase on a year-over-year basis; (ii) quarterly Adjusted earnings per share

("EPS") of $0.44, a 10% increase compared to $0.40 in the prior year quarter; and (iii) operating

income of $81.5 million, a $1.8 million increase compared to the prior year.

       38.     Further, in the May 5, 2017 press release regarding VWR's quarterly earnings for

the first quarter of 2017, Defendant Brocke-Benz stated the following:

       "The first quarter represents a strong start to the year, bolstered by our solid
       business momentum in EMEA-APAC and improving performance in the Americas.
       During the first quarter, organic revenues increased 4.3%, with EMEA-APAC up
       8.4%. Our solid revenue momentum, coupled with our adjusted operating income
       margin expansion, drove strong bottom-line performance."

       Mr. Brocke-Benz continued: "We recently acquired EPL Archives and MESM,
       both of which significantly expand and strengthen our VWRCATALYST services
       platform. With these acquisitions, we continue to build a significant business that
       provides a compelling proposition to biopharma customers engaged in clinical trials
       activities. And earlier in the quarter, we acquired Seastar, a global quality leader
       in manufacturing ultra-pure acid and base products used for detecting trace
       elements for environmental, food and semiconductor analysis and testing. These
       acquisitions are an important part of our strategy to increase customer intimacy and
       relevance in these key growth areas."

       39.    In sum, it appears that VWR is well-positioned for financial growth, and that the

Merger Consideration fails to adequately compensate the Company's shareholders.                It is

imperative that Defendants disclose the material information they have omitted from the Proxy,


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discussed in detail below, so that the Company's shareholders can properly assess the fairness of

the Merger Consideration for themselves and make an informed decision concerning whether or

not to vote in favor of the Proposed Merger.

III.    The Incomplete and Materially Misleading Proxy

        40.    On June 1, 2017, Defendants filed the false and/or misleading Proxy with the SEC.

The information contained in the Proxy was disseminated to VWR's stockholders with the false

and/or misleading material information that will be used to solicit stockholder votes in favor of the

Proposed Merger. The Individual Defendants were obligated to carefully review the Proxy before

it was filed with the SEC and disseminated to the Company's shareholders to ensure that it did not

contain any material misrepresentations or omissions. However, the Proxy misrepresents and/or

omits material information that is necessary for the Company's shareholders to make an informed

decision concerning whether to vote in favor of the Proposed Merger, in violation of Sections 14(a)

and 20(a) of the Exchange Act.

       41.     First, the Proxy fails to provide material information concerning the Company's

financial projections that were relied on by the Individual Defendants as a basis to recommend the

Proposed Merger to stockholders (see Proxy at 33- 35, "Reasons for the Merger") 1 (Proxy at 35-

37, "Certain Prospective Financial Information"), and BofA Merrill Lynch in rendering its fairness

opinion (Proxy at 37- 40, "Opinion of the Company's Financial Advisor"). Specifically, the Proxy

discloses forecasted non-GAAP (generally accepted accounting principles) financial metrics,

Adjusted EBITDA and Adjusted EPS, but fails to provide the projected line item metrics used to




   As the Proxy expressly discloses, the Individual Defendants relied on "The Board's
understanding of the Company's business, assets, financial condition, results of operations,
competitive position and historical and projected financial performance, as well as the business,
economic and regulatory environment." Proxy at 33.


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calculate these non-GAAP measures (or otherwise fails to disclose the manner in which Adjusted

EBITDA and Adjusted EPS were calculated) and fails to reconcile the non-GAAP projections to

the most comparable GAAP measures as required. Proxy at 37.

       42.    When a company discloses non-GAAP financial measures in a Proxy, the Company

must also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       43.    Indeed, the SEC has increased its scrutiny of the use of non-GAAP financial

measures in communications with shareholders. The former SEC Chairwoman, Mary Jo White,

recently stated that the frequent use by publicly traded companies of unique company-specific

non-GAAP financial measures (as VWR included in the Proxy here), implicates the centerpiece of

the SEC's disclosures regime:

       In too many cases, the non-GAAP information, which is meant to supplement the
       GAAP information, has become the key message to investors, crowding out and
       effectively supplanting the GAAP presentation.           Jim Schnurr, our Chief
       Accountant, Mark Kronforst, our Chief Accountant in the Division of Corporation
       Finance and I, along with other members of the staff, have spoken out frequently
       about our concerns to raise the awareness of boards, management and investors.
       And last month, the staff issued guidance addressing a number of troublesome
       practices which can make non-GAAP disclosures misleading: the lack of equal or
       greater prominence for GAAP measures; exclusion of normal, recurring cash
       operating expenses; individually tailored non-GAAP revenues; lack of consistency;
       cherry-picking; and the use of cash per share data. I strongly urge companies to
       carefully consider this guidance and revisit their approach to non-GAAP
       disclosures. I also urge again, as I did last December, that appropriate controls be
       considered and that audit committees carefully oversee their company's use ofnon-
       GAAP measures and disclosures. 2


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 Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-


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        44.    The SEC has repeatedly emphasized that disclosure of non-GAAP projections can

be inherently misleading, and has therefore heightened its scrutiny of the use of such projections. 3

Indeed, on May 17, 2016, the SEC's Division of Corporation Finance released new and updated

Compliance and Disclosure Interpretations ("C&Dis") on the use of non-GAAP financial

measures that demonstrate the SEC's tightening policy.4 One of the new C&Dis regarding

forward-looking information, such as financial projections, explicitly requires companies to

provide any reconciling metrics that are available without unreasonable efforts.

        45.    Specifically, the Proxy fails to reconcile Adjusted EBITDA and Adjusted EPS to

their most comparable GAAP metrics.         Stockholders must be informed as to their specific

differences (e.g. stock-based compensation) between the non-GAAP metrics disclosed and utilized

by the Board and BofA Merrill Lynch. The failure to disclose the manner in which the Company's

projected Adjusted EBITDA and Adjusted EPS were determined and the failure to reconcile and

explain these differences renders VWR' s Projections in the Proxy violates SEC reporting

regulations including Regulation G, and renders the Proxy false and/or misleading.

       46.     In order to make these financial projections on page 37 of the Proxy not materially

complete and not misleading, Defendants must provide a reconciliation table of all disclosed non-




GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html.
3
  See, e.g., Nicolas Grabar and Sandra Flow, Non-GAAP Financial Measures: The SEC 's Evolving
Views, Harvard Law School Forum on Corporate Governance and Financial Regulation (June 24,
2016),          https://corpgov .law .harvard.edu/2016/06/24/non-gaap-financial-measures-the-secs-
evolving-views/; Gretchen Morgenson, Fantasy Math Is Helping Companies Spin Losses Into
Profits, N.Y. Times, Apr. 22, 2016, http://www.nytimes.com/2016/04/24/business/fantasy-math-
is-helping-companies-spin-losses-into-profits.html?_r=O.
4
 Non-GAAP Financial Measures, Compliance & Disclosure Interpretations, U.S. SECURITIES AND
EXCHANGE COMMISSION (May 17, 2017), https://www.sec.gov/divisions/corpfin/guidance/
nongaapinterp.htm.


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GAAP measures to the most comparable GAAP measures. At the very least, the Company must

disclose the line item projections for the financial metrics that were used to calculated the non-

GAAP measures. Those line item projections that were utilized to calculate Adjusted EBITDA

include (i) interest expense, net of interest income, (ii) income tax provision or benefit, (iii)

depreciation and amortization, (iv) net foreign currency remeasurement gains or losses relating to

financing activities, (v) losses on extinguishment of debt, (vi) equity offering costs, (vii) charges

associated with restructurings and other cost reduction initiatives, (viii) impairment charges,

(ix)gains or losses upon business disposals, (x) share-based compensation expense and (xi) other

costs or credits that are either isolated or cannot be expected to recur with any regularity or

predictability. Adjusted EPS was calculated based on the Company's net income, adjusted for

certain items, divided by the Company's fully diluted weighted average shares outstanding as

determined under GAAP. For the purposes ofcalculating adjusted net income, the Company's net

income or loss is first adjusted for the following items: (i) amortization of acquired intangible

assets, (ii) net foreign currency remeasurement gains or losses relating to financing activities, (iii)

impairment charges, (iv) losses on extinguishment of debt, (v) equity offering costs, (vi) income

from changes to estimated fair value of contingent consideration, and (vii) other costs or credits

that are either isolated or cannot be expected to recur with any regularity or predictability. After

those adjustments, the Company then adds or subtracts an assumed incremental income tax impact

on the above noted pre-tax adjustments, using estimated tax rates and any other tax items that are

either isolated or cannot be expected to recur with any regularity or predictability. Proxy at 36.

       47.      Such projections are necessary to make the non-GAAP projections included in the

Proxy not misleading.




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        48.     In fact, the Defendants acknowledge the materially incomplete and misleading

nature of said non-GAAP measures in the Proxy: "Certain of the measures included in the

Projections may be considered non-GAAP financial measures. Non-GAAP financial measures

should not be considered in isolation from, or as a substitute for, financial information presented

in compliance with GAAP, and non-GAAP financial measures as used by the Company may not

be comparable to similarly titled amounts used by other companies." Proxy at 36-37. Despite

disclosing the misleading and materially incomplete nature of non-GAAP financial measures,

Defendants fail to reconcile the non-GAAP measures disclosed in the Proxy.

        49.     The Proxy also fails to provide sufficient information for stockholders to assess the

valuation analyses performed by BofA Merrill Lynch in support of its fairness opinions.

        50.     With respect to BofA Merrill Lynch's Discounted Cash Flow Analysis, the Proxy

states that "BofA Merrill Lynch performed a discounted cash flow analysis of VWR to calculate

the estimated present value of the standalone unlevered, after-tax free cash flows that VWR was

forecasted to generate from the second fiscal quarter of 2017 through fiscal year 2022 based on

the VWR management forecast." Proxy at 40. Notably, the Proxy: (i) fails to provide a definition

for unlevered, after-tax free cash flows; (ii) fails to disclose a reconciliation of unlevered, after-tax

free cash flows to its most comparable GAAP metric; and (iii) fails to provide the underlying line

items used to calculate unlevered, after-tax free cash flows.

       51.     These key inputs are material to VWR shareholders, and their omission renders the

summary of BofA Merrill Lynch's Discounted Cash Flow Analysis, on page 39-40 of the Proxy,

incomplete and misleading. As a highly-respected professor explained in one of the most thorough

law review articles regarding the fundamental flaws with the valuation analyses bankers perform

in support of fairness opinions, in a discounted cash flow analysis a banker takes management's




                                                   16
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forecasts, and then makes several key choices "each of which can significantly affect the final

valuation." Steven M. Davidoff, Fairness Opinions, 55 Am. U.L. Rev. 1557, 1576 (2006). Such

choices include "the appropriate discount rate, and the terminal value ..." Id. As Professor

Davidoff explains:

        There is substantial leeway to determine each of these, and any change can
        markedly affect the discounted cash flow value. For example, a change in the
        discount rate by one percent on a stream of cash flows in the billions of dollars can
        change the discounted cash flow value by tens if not hundreds of millions of dollars
        ... This issue arises not only with a discounted cash flow analysis, but with each
        of the other valuation techniques. This dazzling variability makes it difficult to
        rely, compare, or analyze the valuations underlying a fairness opinion unless full
        disclosure is made of the various inputs in the valuation process, the weight
        assigned for each, and the rationale underlying these choices. The substantial
        discretion and lack of guidelines and standards also makes the process vulnerable
        to manipulation to arrive at the "right" answer for fairness. This raises a further
        dilemma in light of the conflicted nature of the investment banks who often provide
        these opinions.

Id. at 1577-78.

        52.       As a result of these omissions, stockholders are unable to properly assess and weigh

BofA Merrill Lynch's discounted cash flow analysis---generally considered the most useful

analysis.

        53.    The omission of such information renders the summaries of these valuation

analyses on page 40 of the Proxy misleading.

       54.     With respect to BofA Merrill Lynch's Selected Publicly Traded Companies

Analysis, the Proxy fails to disclose the mean and median multiples for Adjusted EBITDA and

EPS and/or the multiples for each of the companies selected for this analysis. As a result of these

omissions, stockholders are unable to determine whether the reference multiple ranges selected by

BofA Merrill Lynch for this valuation is reasonable. The omission of this information renders the

analysis on page 39 of the Proxy materially misleading. In determining these multiples, BofA

Merrill Lynch adjusted EPS for stock-based compensation expense ("SBC"), but the SBC expense


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is not disclosed, and it must be disclosed. Proxy at 39. The omission of this information renders

the analysis on page 3 of the Proxy materially misleading.

        55.    With respect to BofA Merrill Lynch's Selected Precedent Transaction Analysis, the

Proxy fails to disclose the mean and median multiples for LTM Adjusted EBITDA as well as the

individual multiples for each of the transactions selected for this analysis. As a result of these

omissions, stockholders are unable to determine whether the reference multiple ranges selected by

BofA Merrill Lynch for LTM Adjusted EBITDA is reasonable. The omission of this information

renders the analysis on page 40 of the Proxy materially misleading. Proxy at 40.

       56.     In sum, the omission of the above-referenced information renders statements in the

Proxy materially incomplete and misleading, in violation of the Exchange Act. Absent disclosure

of the foregoing material information prior to the special shareholder meeting to vote on the

Proposed Merger, Plaintiff and the other members of the Class will be unable to make a fully-

informed decision regarding whether to vote in favor of the Proposed Merger, and they are thus

threatened with irreparable harm, warranting the injunctive relief sought herein.

                                    CLAIMS FOR RELIEF

                                          COUNT I
                          Claim for Violations of Section 14(a) of the
                            Exchange Act Against All Defendants

       57.    Plaintiff repeats and realleges each allegation set forth herein.

       58.    Section 14(a)(l) of the Exchange Act makes it "unlawful for any person, by the use

of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection

of investors, to solicit or to permit the use of his name to solicit any proxy or consent or




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authorization in respect of any security (other than an exempted security) registered pursuant to

section 781 of this title." 15 U.S.C. § 78n(a)(l).

        59.    Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that Proxy communications with shareholders shall not contain "any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading." 17 C.F .R. § 240.14a-9.

       60.     SEC Regulation G has two requirements: (1) a general disclosure requirement; and

(2) a reconciliation requirement. The general disclosure requirement prohibits "mak[ing] public a

non-GAAP financial measure that, taken together with the information accompanying that

measure, contains an untrue statement of a material fact or omits to state a material fact necessary

in order to make the presentation ofthe non-GAAP financial measure ... not misleading." 17 C.F .R.

§ 244.1 OO(b). The reconciliation requirement requires an issuer that chooses to disclose a non-

GAAP measure to provide a presentation of the "most directly comparable" GAAP measure, and

a reconciliation "by schedule or other clearly understandable method" of the non-GAAP measure

to the "most directly comparable" GAAP measure. 17 C.F.R. § 244. lOO(a). As set forth above,

the Proxy omits information required by SEC Regulation G, 17 C.F.R. § 244.100.

       61.    The omission of information from a Proxy violates Section 14(a) and Rule 14a-9 if

other SEC regulations specifically require disclosure of the omitted information.

       62.    Defendants have issued the Proxy with the intention of soliciting shareholder

support for the Proposed Merger.        Each of the Defendants reviewed and authorized the

dissemination of the Proxy, which fails to provide critical information regarding, amongst other




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things: (i) financial projections for the Company and (ii) the valuation analyses performed by BofA

Merrill Lynch.

       63.       In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a).

       64.       The Individual Defendants knew or were negligent in not knowing that the Proxy

is materially misleading and omits material facts that are necessary to render it not misleading.

The Individual Defendants undoubtedly reviewed and relied upon the omitted information

identified above in connection with their decision to approve and recommend the Proposed

Merger; indeed, the Proxy states that BofA Merrill Lynch reviewed and discussed its financial

analyses with the Board, and further states that the Board considered both the financial analyses

provided by BofA Merrill Lynch as well as its fairness opinion and the assumptions made and

matters considered in connection therewith.

       65.     The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a Proxy by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence.          The Individual

Defendants were negligent in choosing to omit material information from the Proxy or failing to

notice the material omissions in the Proxy upon reviewing it, which they were required to do

carefully as the Company's directors. Indeed, the Individual Defendants were intricately involved

in the process leading up to the signing of the Merger Agreement and the preparation of the

Company's financial projections.




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        66.    VWR is deemed negligent as a result of the Individual Defendants' negligence in

preparing, reviewing and filing the Proxy.

        67.    The misrepresentations and omissions in the Proxy are material to Plaintiff and the

Class, who will be deprived of their right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Merger.

       68.     Plaintiff and the Class have no adequate remedy at law. Only through the exercise

of this Court's equitable powers can Plaintiff and the Class be fully protected from the immediate

and irreparable injury that Defendants' actions threaten to inflict.

                                         COUNT II
                  Claims for Violations of Section 20(a) of the Exchange Act
                             Against the Individual Defendants

       69.     Plaintiff repeats and realleges each allegation set forth herein.

       70.     The Individual Defendants acted as controlling persons of VWR within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers

and/or directors of the VWR, and participation in and/or awareness of the Company's operations

and/or intimate knowledge of the false statements contained in the Proxy filed with the SEC, they

had the power to influence and control and did influence and control, directly or indirectly, the

decision making of the Company, including the content and dissemination of the various

statements which Plaintiff contends were false and/or materially incomplete and therefore

misleading.

       71.     Each of the Individual Defendants were provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.




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        72.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

alleged herein, and exercised the same.           The Proxy at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Merger. Thus, the

Individual Defendants were intimately connected with and directly involved in the making of this

document.

       73.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were each involved in negotiating, reviewing, and approving the Merger. The Proxy

purports to describe the various issues and information that the Individual Defendants reviewed

and considered. The Individual Defendants participated in drafting and/or gave their input on the

content of those descriptions.

       74.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       75.     Plaintiff has no adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A       Ordering that this action may be maintained as a class action and certifying Plaintiff

as the Class representative and Plaintiffs counsel as Class counsel;

       B.     Enjoining Defendants and all persons acting in concert with them from proceeding

with the shareholder vote on the Proposed Merger or consummating the Proposed Merger, unless

and until the Company discloses the material information discussed above, which has been omitted

from the Proxy;




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        C.     Rescinding, to the extent already implemented, the Proposed Merger or any of the

tenns thereof, or granting Plaintiff and the Class rescissory damages;

        D.     In the event Defendants consummate the Proposed Merger, awarding damages to

Plaintiff and the Class;

       E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff's attorneys' and experts' fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.


Dated: June 14, 2017

                                                     By: -..C...A6i~~____,;~-~-­
                                                         Stuart J. Guber
OF COUNSEL:                                              101 Greenwood     enu ,
                                                        Jenkintown, PA 19046
                                                        Telephone: (215) 277-5770
F ARUQI & F ARUQI, LLP                                  Facsimile: (215) 277-5771
James M. Wilson, Jr. (Pro Hae forthcoming)              Email: sguber@faruqilaw.com
Nadeem Faruqi
685 Third Ave., 26th Fl.                                Counsel for Plaintiff
New York, NY 10017
Telephone: (212) 983-9330
Email: nfaruqi@faruqilaw.com
Email: jwilson@faruqilaw.com

Counsel for Plaintiff




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    JS 44 (Rev. 06/17)                                                                      CIVIL COVER SHEET
   The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadin~s or other papers as required by law, except as
   provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is requrred for the use of the Clerk of Court for the
                                                                                                                                                                                       1'7-<1-6/75,q
   pmpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAG          THIS FORM.)                                                                             .

   I. (a) PLAINTIFFS
     Lawrence, David


          (b} County of Residence of First Listed Plaintiff
                                     (EXCEPT IN U.S. PlAJN111
                                                                                                                                 NOTE:


     {C) Attorneys (Firm NaTTU!, Address, and Telephone umber)                                                                   Attorneys (If Known)
   Faruqi & Faurqi, LLP
   101 Greenwood Avenue, Suite 600, Jenkintown, PA 19046
   (215) 277-5770

  II. BASIS OF JURIS()ION (Place an "X" m One Bo:x:Onty)                                                          ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Ba.rfor Plaintiff
                                                                                                                            (For Diversity Cases Only)                                                        and One Boxfor Defendant)              ._.,
  t:J I      U.S. Government                       1!'f:     Federal Question                                                                        PTF               DEF                                                       PTF         DEF      U
                Plaintiff                                      (U.S. Government Not a Party)                          Citizen of This State             C'.'.l    l    i'.'.I   I      Jncmpomted or Principal Place                 r.J 4   l'1 4
                                                                                                                                                                                         ofBusiness In This State

 0 2 IJ.S.''Government                             04 Diversity                                                       Citizen of Another State          a        2     t:J 2           lncOIJ!Omted and Principal Place              0 5     0 5
               Defendant                                       (Indicate Citizenship ofParties In Item Ill)                                                                               of Business In Another S!Jlte

                                                                                                                      Citizen or Subject of a           0 3            Cl       3      Foreign Nation                                0 6     06
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 IV. NATURE OF SUIT (Place an "X"tnOneBoxOnl
                   N
 t:J 110 Insurance                               PERSONAL INJURY                        PERSONAL INIDRY              0 625 Drug Related Seizure                  t:J 422 Appeal 28 USC 158                  0 375 False Claims Act
 O       120 Marine                         O 310 Aiiplane                           0 365 Personal Injury -               of Property 21 USC 881                0 423 Withdmwal                            0 376 QuiTam (31 USC
 0       130 Miller Act                     t:J 315 Airplane Product                        Product Liability        0 690 Other                                         28 USC 157                                3729(a))
 O       140 Negotiable Instrument                   Liability                       CJ 367 Health Care/                                                         t=flij!iJiD!J:lmJ!DC:::j                   0 400 State Reapportionment
 0       ISO Recovery of Overpayment        0 320 Assault, Libel &                         Phannaceutical                                                                                                   0 410 Antitrust
              & Enf=ement of Judgment                Slander                                 Personal Injury                                                     0 820 Copyrights                           0 430 Banks and Banking
O        151 Medicare Act                  O 330Fedem1Employers'                             ProductLiabilicy                                                    0 830Patent                                CJ 450Commerce
0        l 52 Recovery of Defaulted                  Liability                      0 368 Asbestos Personal                                                      0 835 Patent - Abbreviated                 0 460 Deportation
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LI       160 Stockholders' Suits           LI 355 Motor Vehicle                    C'.'.l 371 Truth in Lending        Act               i'.'.I 862Black Lung (923) ():8 Securities/Conunodities/
CJ       190 Other Contract                         Product Liability              t::l 380 Other Personal     LI 720 Labor/Management  0 863 DIWCIDIWW (405(g)            Exchange
l'.'l    195 Contract Product Liability    0 360 Other Personal                               Property Damage         Relations         CJ 864 SSID Title XVI      CJ 90 Other Statutory Actions
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 t:J 220 Foreclosure             t:J 441 Voting               i'.'.I 463 Alien Detainee            Income Security Act                                                  or Defendant)                       t:J 899 Administrative Procedure
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 t:J 240 Torts to Land          l'.'l 443 Housing/                       Sentence                                                                                       26 USC 7609                                 Agency Decision
 t:J 245 Tort Product Liability           A<-commodations     C'.'.l 530 General                                                                                                                            Cl 9 SO Constitutionality of
t:J 290 All Other Real Property LI 445 Amer. w/Disabilities - l'.'l 535 Death Penalty               l~'IMl(IJIA                                                                                                     State Statutes
                                                Employment               Other:                                      u      462 Naturalization Application
                                          0 446 Amer. w/Disabilities - M 540 Mandamus & Other                        l'.'.I 465 Other Immigration
                                                           Other                      550 Civil Rights
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               ceeding                                                           Appellate Comt                      Reopened                                                            Litigation -                      Litigation -
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                                                      B 'ef description of cause:
                                                           iolation of Securities Exchan e Act in A
VII. REQUESTED IN                                            CHECK IF IBIS IS A CLASS ACTION
     COMPLAINT:                                             UNDER RlJLE 23, F.R.Cv.P.
VIII. RELATED CA
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             IF ANY
DATE
06/14/2017
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     RECElPTll                     AMOUNT                                                   APPLYING IFP                                                                                     MAG.JUDGE
                         Case 2:17-cv-02758-WB Document 1 Filed 06/14/17 Page 25 of 27

  JS 44 Reverse (Rev. 06117)


                        INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                    Authority For Civil Cover Sheet

  The JS 44 civil cover sheet and the infmmation contained herein neither replaces nor supplements the filings and service of pleading or other papers as
  required by Jaw, except as provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is
  required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
  Court for each civil complaint filed. The attorney filing a case should complete the fonn as follows:

  I.(a)      Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. lf the plaintiff or defendant is a government agency, use
             only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
             then the official, giving both name and title.
      (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
             time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
             condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
      (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
             in this section "(see attachment)".

 U.          Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
             in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
             United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are inc.luded here.
             United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
             Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United. States, an amendment
             to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
             precedence, and box I or 2 should be marked.
             Diversity of citizenship. (4) This refers to suits under28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
             citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
             cases.)

 III.        Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
             section for each principal party.

 IV.        Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
            that is most applicable. Click here for: t:!l!.ll!DLl!:t..§.!!l.L~~~ifr.!r!£!11Jli·

 V.          Origin. Place an "X" in one of the seven boxes.
            Original Proceedings. (I) Cases which originate in the United States district courts.
            Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
            When the petition for removal is granted, check this box.
            Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
            date.
            Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
            Transferred from Another District. (5) For cases transferred under Title 28 U. S.C. Section I 404(a). Do not use this for within district transfers or
            multidistrict litigation transfers.
            Multidistrict Litigation -- Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
            Section 1407.
            Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
            PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
            changes in statue.

VI.         Cause of Action. Report the civil statute directly related to the cause ofaction and give a brief description of the cause. Do not cite jurisdictional
            statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.        Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
            Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
            Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                        Case 2:17-cv-02758-WB Document 1 Filed 06/14/17 Page 26 of 27
                                                              UNITED STATES DISTRICT COURT                                                   17                2758
  FOR THE EASTERN DISTRICT OF PENNSYLVANIA-DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
  assignment to appropriate calendar.

  Address of Plaintiff:     David Lawrence cfoJ;ayr'li ~ ;Eru;uqi l.J.f 6~~ IbiTll file 26th Floor. New York. NY 10017

  Address of Defendant: YWR Corpqrn!i®.100 Ma!jgoford Roail Radnor PA lfltl82

  Place of Accident, hlcident or Transaetion:._P_e_n_ns..:.y_Iv_an_ia_ _ _ _~----,------......,-:---:----------------------
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                                                                                                                                                         ore of its stock?




  Civil

                                                                     suit pending or within one year previously tenninated action in this court?
                                                                                                                                  YesD      Nol:!ll
  2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
     action in this court?
                                                                                                                                 YesD       Noll!!
 3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
       tenninated action in this court?                                                                                               YesD     NolX

 4c Is this case a second or successive habeas cmpus, social security appeal, or pro se civil rights case filed by the same individual?
                                                                                                                                      YesO      NolXI.

 CIVIL: (Place             ONE CATEGORY ONLY)
 A     Federal Question Cases:                                                                           B. Diversity Jurisdiction Cases:
  I.    D   Indemnity Contract, Marine Contract, and All Other Contracts                                 I.   IJ   Insurance Contract and Other Contracts
  2. o FELA                                                                                              2.   D    Airplane Personal Injury
  3. o Jones Act-Personal Injury                                                                         3.   D    Assault, Defamation
  4. o Antitrust                                                                                         4.   D    Marine Personal Injury
  5. o Patent                                                                                            5.   D    Motor Vehicle Personal Injury
            Labor-Management Relations                                                                   6.   0    Other Personal Injury {Please specify)
            Civil Rights                                                                                 7.   IJ   Products Liability
            Habeas Corpus                                                                               8.    D    Products Liability -       Asbestos
            Securities Act(s) Cases                                                                     9.    D    All other Diversity Cases
            Social Security Review Cases                                                                           (Please specify)
            All other Federal Question Cases
            (Please s p e c i f y ) - - - - - - - - - - - - - - - - -

                                                                ARBITRATION CERTIFICATION
       Stuart J. Guber                                                   (Check Appropriate Category)
 ' + - - - - - - - - - - - - - - - - - - - ' c o u n s e l of record do hereby certify:
     Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
   0,000.00 exclusive of interest and costs;
      Relief other than monetary damages is sought.

       E: 06/20/2017                                                                                                              #60772
                                                                                                                                   Attorney I.D.#
                                                                               y jury only if there bas been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is out nlated to any case now pending or within one ye.ar previously terminated action In this court
except as noted above.

DATE:       06/20/2017                                                                                                            #60772
                                                         Attorney-at-Law                                                               Attorney I.D.#
CN. 609 (5/2012)
         Case 2:17-cv-02758-WB Document 1 Filed 06/14/17 Page 27 of 27


                                 IN THE UNITED STATES DISTRICT COURT
                               OR THE EASTERN DISTRICT OF PENNSYLVANIA

                            CASE MANAGEMENT TRACK DESIGNATION FORM
 David Lawrence, Individually And On                                          CIVIL ACTION
 Behalf Of All Others Similarly Situated,
                       v.                                                          l7            27 5 8
 VWR Corporation; Manuel AH. Brocke-Benz, Harry M. Jansen
 Kraenner, Jr., Nichola W. Alexos, Robert L. Barchi, Edward A
 Blechschmidt, Robert P. DeCresce, Pamela Forbes Lierberman,                 NO.
 Timothy P. Sullivan, and Robert J. Zollars
 In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
 plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
 filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
 side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
 designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
 the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
 to which that defendant believes the case should be assigned.

 SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

 (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241through§2255.                              ( )

 (b) Social Security - Cases requesting review of a decision of the Secretary of Health
     and Human Services denying plaintiff Social Security Benefits.                                 ( )

 (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

 (d) Asbestos - Cases involving claims for personal injury or property damage from
     exposure to asbestos.                                                                          ( )

(e) Special Management- Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)

(f) Standard Management- Cases that do not fall into any one of the other tracks.


 June 14,2017                                                        David Lawrence
Date                                           Attorney-at-law         Attorney for
  {215) 277-5770                           {215) 277-5771            sguber@faruqilaw.com

Telephone                                      FAX Number               E-Mail Address


(Civ. 660) 10/112
